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                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF MASSACHUSETTS
                                           EASTERN DIVISION


    In re:
                                                                      Chapter 11
    MARINER SEAFOOD, LLC
                                                                      Case No: 20-11870-FJB
                              Debtor


     AFFIDAVIT OF JOHN P. FLYNN IN SUPPORT OF CONFIRMATION OF
FIRST AMENDED JOINT LIQUIDATING PLAN OF MARINER SEAFOOD, LLC AND
         THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

             Pursuant to 28 U.S.C. § 1746, I, John P. Flynn, hereby submit this affidavit (the

“Affidavit”) in support of confirmation of the First Amended Joint Liquidating Plan of Mariner

Seafood, LLC and the Official Committee of Unsecured Creditors (the “Plan”),1 and state as

follows:

             1.     The statements made in this Affidavit are based upon my personal knowledge,

except where it is noted that they are on information and belief, in which instance I am informed

and believe such statements to be true.

             2.     During the course of this Chapter 11 bankruptcy proceeding, I served as president

of Mariner Seafood, LLC (the “Debtor”). I am familiar with the operations, business and

financial affairs of the Debtor, both prior to and during the Chapter 11 Case.

                                                    BACKGROUND

             3.     The Debtor was originally organized in the State of Rhode Island in September

2006 and ultimately organized following merger in the Commonwealth of Massachusetts in

December 2015. The Debtor was a seafood processor headquartered in New Bedford,

Massachusetts, where it employed the majority of its employees. In the years following its
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    Capitalized terms not otherwise defined in this affidavit shall have the meanings ascribed to them in the Plan.
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founding, the Debtor concentrated its business on the buying and selling seafood inventory from

third party importers to domestic and Canadian seafood processors and food service distributors.

The Debtor later expanded to importing products from Asian markets, to supply wholesale

distributors and processing plants and later expanded further into the delivery and meal kit

industry and then processing and selling consumer packaged goods.

          4.   In May 2018, the Debtor refinanced its revolving credit and equipment line of

credit with Wells Fargo Bank, N.A. (the “Lender”) and Wells Fargo Equipment Financing, Inc.

(“Finance”).

          5.   In the summer of 2018, the Debtor entered into negotiations with a large national

retailer for a major supply contract estimated to total approximately $38,000,000 in annual

purchases. In anticipation of finalizing this major supply contract, the Debtor hired additional

employees, acquired and pre-packed a substantial amount of frozen “back up” inventory,

purchased branded packaging, and produced specialized marketing materials for the retailer’s

stores.

          6.   In late 2018 and following these substantial expenditures, the Lender and Finance

asserted that the Debtor was in default under its loans because certain of the frozen seafood

inventory acquired in connection with the potential contract was no longer eligible to be counted

as collateral, resulting in an asserted overadvance. At the time, the Lender and Finance asserted

to be collectively owed approximately $4,800,000 and asserted that those obligations were

secured by valid, perfected liens upon all or substantially all of the Debtor’s assets, including its

cash and receivables, pursuant to UCC-1 financing statements filed with the Secretary of the

Commonwealth. Following the asserted default and among other things, the Lender ceased

advancing on the revolving line, instituted strict cash management and spending controls on the




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Debtor, and required the Debtor to provide weekly cash flow reporting. Thereafter, the Debtor

was forced to operate on a cash-flow basis and struggled to maintain ordinary course operations.

        7.      In the spring of 2019 the negotiations with the national retailer terminated and the

retailer discontinued the Debtor’s product line. As a result, the Debtor was forced to effectuate

an immediate reduction-in-force, cut costs and overhead, and find alternative buyers for

inventory it had purchased.

        8.      In the second half of 2019 Mariner explored options to refinance its obligations to

the Wells’ entities, sell its assets, or facilitate equity investment to improve its cashflow and

address the Lender’s asserted defaults. Several parties expressed interest and attended

management presentations at Mariner’s premises in late 2019 and early 2020. In January 2020,

the Debtor retained Jon Pratt of Tully & Holland, Incorporate as an investment banker to assist in

refinancing or selling its assets.

        9.      With the onset of the COVID-19 pandemic the sale process effectively halted.

COVID-19 also negatively impacted the Debtor’s business forcing an additional reduction in

force. From March to May 2020, sales fell approximately thirty-five percent (35%).

        10.     In the summer 2020 the Debtor was able to re-engage in the marketing process

with the assistance of Tully & Holland, identified a stalking-horse acquirer, negotiated a sale

agreement, and commenced this proceeding to preserve its assets and effectuate a sale.

        11.     On September 14, 2020 the Debtor filed the Motion to Sell Substantially All

Assets Free and Clear of Liens, Claims, Interests and Encumbrances and Approve Bid

Procedures in connection with the Sale (the “Sale Motion”). The Sale Motion requested, among

other things, the approval of the sale of substantially all of the Debtor’s assets to True North

Seafood, Inc. (“True North”) as a going concern. Attached to the Sale Motion was an asset




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purchase agreement and various related agreements that establish the Debtor’s and True North’s

rights and obligations under the sale. After notice and hearing, the Bankruptcy Court approved

the Sale by an order dated October 26, 2021 [docket no. 115].

       12.     The sale to True North closed on October 26, 2020. At the closing True North

paid to or for the benefit of the Debtor the amount of $2,936,412 consisting of: $2,750,000 in

cash to the Debtor’s estate, $158,662 to counterparties to cure defaults under certain of the

contracts assigned to True North under the asset purchase agreement, and $27,750 in accrued

vacation liabilities to the Debtor’s employees. In addition and in accordance with the Sale

Motion, True North also assumed the Debtor’s obligations under its equipment loan with

Finance, which totaled approximately $525,000 as of the closing.

       13.     The Lender’s claims against the Debtor and those of certain insiders of the Debtor

have been withdrawn and/or released pursuant to a certain stipulation approved by the Court on

February 18, 2021 [docket no. 155].

       14.     The Debtor is holding approximately $525,000 constituting proceeds of

operations and the sale and a grant from a seafood processor relief fund established as part the

2020 CARES Act.

                                             THE PLAN

       15.     The Plan has been proposed jointly with the Official Committee of Unsecured

Creditors (the “Committee”). I reviewed the terms of the Plan, and discussed the Plan with

counsel for the Debtor prior to the filing of the Plan.

       16.     On the basis of my understanding of the Plan, the events that have occurred

throughout the Debtor’s Chapter 11 Case and discussions that I have had with the Debtor’s




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counsel, I believe that the Plan complies with the applicable provisions of Section 1129 of the

Bankruptcy Code for the confirmation of a plan of liquidation.

        17.      The purpose of the Plan is to establish a mechanism to complete the orderly wind

down of the Debtor’s business, to resolve disputed claims against the Debtor’s bankruptcy estate,

and to distribute the proceeds of the liquidation to creditors in accordance with the Plan and the

priority established by the Bankruptcy Code.

        18.      The Plan provides for the appointment of Mr. Peter Armanetti as liquidating agent

(the “Liquidating Agent”) who will wind down the Debtor’s business, administer claims, and

distribute the proceeds of the liquidation of the Debtor’s assets in accordance with the Plan. The

Plan was proposed with the legitimate and honest purpose of maximizing the value of the

Debtor’s estate for the benefit of its creditors.

        19.      It is my understanding that, under the Plan, creditors with similar types of claims

are treated equally.

        20.      The release and exculpation provisions set forth in the Plan are intended to protect

those parties who participated in the successful Chapter 11 Case from unmeritorious claims. The

release and exculpation provisions release those parties from liability in connection with their

participation in the Chapter 11 Case arising prior to the Effective Date.

        21.      I believe the Debtor has complied with the requirement that the Plan be proposed

in good faith.

        22.      Neither the Debtor nor the Committee proposed the Plan for the purpose of

avoiding taxes or the application of any securities laws.

        23.      The Liquidating Agent is familiar with the Debtor’s business and the claims given

that he has previously served as financial advisor. It is expected that the Liquidating Agent can




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perform his duties on a part-time basis. The Liquidating Agent shall be entitled to compensation,

at an hourly fee equal to the regular rates for the Liquidating Agent as then in effect. The

Liquidating Agent’s current hourly rate is $250.

       24.     The Plan will be funded from the proceeds of the liquidation of the Debtor’s

assets, primarily consisting of the proceeds from the Sale. I believe that the Post-Confirmation

Debtor will have sufficient funds to pay post-Effective Date costs of administering the Plan, to

pay all Allowed Administrative and Priority Claims, and to return a dividend to the holders of

Allowed non-priority unsecured claims.

       25.     All of the creditors who returned ballots voted to accept the Plan.

       26.     The estate presently consists of cash, potential causes of action, and other tangible

and intangible assets. In the event the Debtor’s Chapter 11 case is converted to a case under

Chapter 7 of the Code, a Chapter 7 trustee would be appointed. There would necessarily be

increased costs and delays while the Chapter 7 trustee familiarized himself/herself with the

Debtor’s remaining assets, the claims against the Debtor and other matters. The Chapter 7

trustee, moreover, would retain attorneys and accountants who would also need to engage in a

similar learning process with similar delays. Unlike a Chapter 7 trustee, the Liquidating Agent

will not be entitled to a commission under Section 326 of the Bankruptcy Code and is already

familiar with the Debtor’s business and the claims by creditors. By reducing the administrative

costs, the Plan will provide for a higher dividend to non-priority unsecured creditors. At a

minimum, however, the Plan will permit each class of creditors with at least as much as it would

receive in a Chapter 7 scenario.

       27.     The Debtor has paid or will pay all invoiced fees owed to the Office of the United

States Trustee by the Effective Date. The Plan requires the Post-Confirmation Debtor to pay all




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accrued and future fees owed to the Office of the United States Trustee, and I believe that the

Post-Confirmation Debtor will have sufficient funds to pay such fees.

        28.     The Plan provides for the liquidation and distribution of the Debtor’s remaining

assets. Accordingly, confirmation of the Plan is not likely to be followed by the need for further

financial reorganization of the Debtor or any successor of the Debtor.

        29.     The Debtor did not owe retirement benefits, as that term is defined in Section

1114 of the Bankruptcy Code, to any party prior to confirmation of the Plan. Nor is the Debtor

required to pay any domestic support obligations.

        30.     In light of the forgoing, I believe that confirmation of the Plan is appropriate, is in

the best interests of all parties-in-interest and should, therefore, be granted.




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